 Case: 3:21-cv-00036-RAM-RM            Document #: 185   Filed: 11/10/23     Page 1 of 12




                 IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                      DIVISION OF ST. THOMAS AND ST. JOHN
 SANDINO BRITO DIAZ and MARIA BRITO,               Case No.: 3:21-cv-00036
 h/w,
               Plaintiffs,                         ACTION FOR DAMAGES
 v.
 JUNGERHANS MARITIME SERVICES
 GMBH & CO., KG and/or a/k/a JUNGERHANS
 REEDEREI, MARLOW NAVIGATION
 COMPANY LIMITED and MARCREW
 SCHIFFAHRTS GmbH
              Defendants.


     MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION IN LIMINE TO
   PRECLUDE DEENDANTS’ EXPERTS FROM TRIAL DUE TO UNTIMELINESS


/s/ John P. Fischer                              SALTZ MONGELUZZI BENDESKY P.C.
John P. Fischer, Esq., V.I. Bar No. 1232         /s/ Samuel B. Dordick
15B Norre Gade / P.O. Box 1197                   Jeffrey P. Goodman, Esq.*
Charlotte Amalie, VI 00804                       Samuel B. Dordick, Esq.*
Phone: (340) 715-5297                            Saltz Mongeluzzi & Bendesky P.C.
Fax: (888) 519-7138 / (305) 520-0323             1650 Market Street, 52nd Floor
John@frtriallawyers.com;                         Philadelphia, PA 19103
usviservice@frtriallawyers.com                   Telephone: (215) 575-2970
                                                 Fax: (215) 496-0999
                                                 jgoodman@smbb.com
                                                 sdordick@smbb.com
                                                 *admitted pro hac vice



Dated: November 10, 2023
 Case: 3:21-cv-00036-RAM-RM            Document #: 185        Filed: 11/10/23     Page 2 of 12




       Plaintiffs, Sandino Brito Diaz and Maria Brito, h/w, by and through their undersigned

counsel, hereby file this Motion in Limine to Preclude Defendants’ Experts From Trial Due to

Untimeliness and supporting Memorandum of Law.

                             I.      FACTUAL BACKGROUND

       A.      Facts Common to All Motions in Limine

       On May 10, 2020, Plaintiff, Sandino Brito Diaz, suffered severe and permanent injuries

when a heavy metal container lashing rod was dropped nearly 20 feet from the deck of the M/V

Deneb J (hereinafter “the Vessel” or “Deneb J”), landing directly on his head and neck. There is

no dispute that the lashing rod was dropped off the deck of the Deneb J by Yavheni Liashenko, an

employee of Defendants.

       The Deneb J had just arrived to the Crowley St. Thomas port and was being prepared for

discharge of the shipping containers. At the time of the accident, Plaintiff was working as a dock

worker and crane operator for Crowley Caribbean Services, at Crown Bay, Lot 170-3, in St.

Thomas, and was standing on the dock reviewing the discharge plan with a co-worker. At the

same time, Defendants’ crew member, Mr. Liashenko, was attempting to unlash a shipping

container when he mishandled the lashing rod and dropped it overboard. The lashing rod

plummeted 20-plus feet down directly onto Plaintiff’s head and neck. Defendants’ witnesses,

including the Captain of the Deneb J and the Bosun who was involved in the unlashing operations,

admitted that proper procedure required that two personnel perform the unlashing operations so

that one crewmember can focus on maintaining total control over the lashing rod at all times. See

Exhibit A, Deposition of Jerico Villanueva at 31-33; Exhibit B, Deposition of Jethro De La Cruz

at 42-44. This procedure was not followed at the time of the accident, and the least experienced




                                                2
 Case: 3:21-cv-00036-RAM-RM            Document #: 185         Filed: 11/10/23     Page 3 of 12




deckhand, Mr. Liashenko, was tasked with performing the operation himself, and dropped the

lashing rod as a result. Ex. B, Deposition of De La Cruz at 99-100.

       As a result of this accident, Plaintiff suffered a severe neck including an incomplete spinal

cord injury and fractures of his cervical spine that required a cervical decompression and

permanent fusion of C3-C7. Mr. Brito also suffered a traumatic brain injury resulting in post-

concussion syndrome and associated debilitating symptoms that continue to plague him. Plaintiff

has been permanently disabled from working and has suffered a complete and permanent loss of

earnings capacity.

       B.     Facts Specific to This Motion in Limine

       On June 14, 2023, this Court entered an Order setting forth the most recent and active case

management deadlines. See ECF 127. Under the Court’s June 14, 2023 Order, Plaintiffs were

required to identify experts and produce expert reports and other required expert materials on or

before July 15, 2023. Id. at ¶ 3. Defendants were required to identify experts and produce expert

reports and other required expert materials on or before September 5, 2023. Id. at ¶ 4. The June

14, 2023 Order directed that the balance of the schedule set by the Court’s March 21, 2023 Order

(ECF 105) was to remain in place, which set October 2, 2023 as the deadline to complete all

discovery, including expert discovery. ECF 127 at ¶ 5; ECF 105 at ¶ 5. On July 12, 2023, the

Parties filed a Joint Motion to Modify Scheduling Order which sought to extend the deadline only

for the parties’ respective expert economist reports by one week, or until July 22, 2023 for

Plaintiffs’ economist report and September 12, 2023 for Defendants’ economist report. ECF 133.

The Court granted the Parties Joint Motion. ECF 135.

       Plaintiffs fully complied with the Court’s scheduling Orders and produced all expert

reports in a timely fashion. Defendants did not. On September 5, 2023, Defendants served Expert



                                                3
 Case: 3:21-cv-00036-RAM-RM             Document #: 185         Filed: 11/10/23    Page 4 of 12




Disclosures, but no expert reports. See Exhibit C, Defendants’ Sept. 5, 2023 Expert Disclosures.

Defendants identified the following experts: (1) Dr. Maahir U. Haque, M.D.; (2) Nancy Fraser

Michalski, RN, BSN; (3) James E. Whiddon, CPA; (4) Bonnie E. Levin, Ph.D.; (5) Drew Haines,

P.E.; and (6) Charlene Canada. Id. Notably, Defendants’ identification of their primary liability

expert, Mr. Haines, stated that he “may be called upon to testify concerning the biomechanics of

Plaintiff’s alleged trip and fall incident” and “the reasonableness of walkway surfaces and

pedestrian environments.” Id. at p. 5. This is not a trip and fall accident.

       Defendants’ counsel had not requested a courtesy extension from Plaintiffs or otherwise

advised Plaintiffs of any issue Defendants were having that prevented production of expert reports

and compliance with the Court’s scheduling Orders. Instead, on September 1, 2023, Defendants

filed a Motion for Extension of Time, seeking to extend Defendants’ expert report deadline until

October 13, 2023 and all other deadlines by thirty (30) days. ECF 141. Defendants’ justification

for seeking an extension was that Defendants needed more time to conduct Compulsory Medical

Examinations (“CMEs”). Id. at ¶¶ 2, 4. Defendants’ Motion did not reference or explain why an

extension was needed for Defendants’ liability report(s). Plaintiffs opposed the Motion, explaining

that Defendants offered no explanation or justification for the delay in seeking the CMEs. ECF

143 at 1. Defendants had been in possession of Plaintiffs’ medical records for over a year and had

Plaintiffs’ expert damages reports since July 14, 2023 (July 21, 2023 for the economist report). Id.

at 1-2. Yet, at the time Defendants filed their Motion for Extension and at the time of Plaintiffs’

response in opposition thereto, Defendants had never requested that Plaintiff undergo any CMEs.

Id. at 2. Plaintiffs asserted that there was no justification for Defendants’ delay in seeking CMEs

and that the deadlines should not be extended. Id. at 2.




                                                  4
 Case: 3:21-cv-00036-RAM-RM             Document #: 185         Filed: 11/10/23     Page 5 of 12




       The Court held a status conference on September 14, 2023. At that time, Defendants had

not produced any expert reports and were in violation of the Court’s scheduling Orders (ECF 105,

127), and Defendants still had not scheduled any CMEs. During the conference, the Court

questioned defense counsel as to why Defendants’ expert reports had not been produced.

Defendants’ counsel was unable to offer any kind of justifiable excuse or explanation. The Court

denied Defendants’ Motion for Extension (see ECF 149) and advised Defendants that they should

produce their expert reports as quickly as possible as they were already late.

       During the September 14, 2023 conference, the Court inquired as to the status of expert

discovery, and Plaintiffs’ counsel advised that Defendants had not made any requests to depose

Plaintiffs’ experts and Defendants’ failure to produce reports had precluded Plaintiffs’ ability to

meaningfully depose Defendants’ experts. Defendants’ counsel advised, for the first time, that

Defendants wanted to depose Plaintiffs’ liability expert and life care planner. Recognizing the

incredibly short notice this provided to Plaintiffs with the looming October 2, 2023 discovery

deadline, the Court requested that Plaintiffs’ counsel see what could be done about producing these

witnesses within the next two weeks. Ultimately, through significant effort by Plaintiffs’ counsel

and Plaintiffs’ experts, Plaintiffs were able to produce their liability expert and life care planner

for depositions on such short notice.

       Defendants did not produce their expert reports until October 2, 2023—nearly a month

after they were due and on the discovery deadline. Notably, Defendants did not produce a report

by their previously identified liability expert, Drew Haines, P.E., and instead produced a report

authored by Andrew Bryan Stringer, P.E., a previously unidentified expert. Defendants also

served amended Expert Disclosures. Exhibit D, Defs’ Second Amended Expert Disclosures.

Although Defendants identified Dr. Bonnie Levin in their expert disclosures, no report has been



                                                 5
 Case: 3:21-cv-00036-RAM-RM               Document #: 185        Filed: 11/10/23      Page 6 of 12




produced to date for Dr. Levin. As a result of Defendants’ late production of expert reports (and

non-production of Dr. Levin’s report), Plaintiffs were not able to depose Defendants’ expert

witnesses.

        In addition to being late, some of Defendants’ expert reports are non-compliant with the

requirements of Rule 26(a)(2) in other ways. For example, the expert report of Dr. Haque is

unsigned and has a large red “PRELIMINARY” water mark across the report. Exhibit E, Expert

Report of Dr. Haque. Defendants’ liability expert report by Mr. Stringer is also unsigned. Exhibit

F, Expert Report of Mr. Stringer.

        Plaintiffs now move this Court for an Order precluding Defendants’ experts from testifying

at trial as a result of Defendants’ failure to adhere to the Court’s scheduling Orders and the

resulting prejudice inflicted on Plaintiffs.

                                        III.   ARGUMENT

        Federal Rule of Civil Procedure 26(a)(2)(B) provides that, “[u]nless otherwise stipulated

or ordered by the court, [expert witness] disclosure must be accompanied by a written report—

prepared and signed by the witness—if the witness is one retained or specially employed to provide

expert testimony in the case….” Fed. R. Civ. P. 26(a)(2)(B) (emphasis added). Rule 26(a)(2)(D)

is abundantly clear that, “[a] party must make these disclosures at the times and in the sequence

that the court orders.” Fed. R. Civ. P. 26(a)(2)(D). The trial court is empowered to exclude a

party’s expert witnesses for failure to comply with relevant pretrial orders, including late

production of the experts’ reports. Further, Rule 37(c)(1) provides that “[i]f a party fails to provide

information or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use

that information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the

failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see also Fed. R. Civ.



                                                  6
 Case: 3:21-cv-00036-RAM-RM                Document #: 185        Filed: 11/10/23      Page 7 of 12




P. 16(f)(1) (“On motion or on its own motion, the court may issue any just orders, including those

authorized by Rule 37(b)(2)(A)(ii)-(vii), if a party or its attorney: (C) fails to obey a scheduling or

other pretrial order.”).

         “The trial court’s exclusion of testimony because of the failure of counsel to adhere to a

pretrial order will not be disturbed on appeal absent an abuse of discretion.” Konstantopoulos v.

Westvaco Corp., 112 F.3d 710, 719 (3d Cir. 1997) (quoting Sempber v. Santos, 845 F.2d 1233,

1238 (3d Cir. 1988)). In determining whether there is substantia justification of a party’s failure

to adhere to the court’s order(s), and thus whether to preclude the experts, the trial court should

consider and weigh the following factors:

         (1) the prejudice or surprise in fact of the party against whom the excluded witness
         would have testified;
         (2) the ability of that party to cure the prejudice;
         (3) the extent to which waiver of the rule against calling unlisted witnesses would
         disrupt the orderly and efficient trial of the case or other cases in the court; and
         (4) bad faith or willfulness in failing to comply with the district court’s order.
Id. (citing Meyers v. Pennypack Woods Home Ownership Ass’n, 559 F.2d 894, 904-905 (3d Cir.

1977).

         “[T]he importance of the excluded testimony” should also be considered. Id. (quoting

Meyers, 559 F.2d at 904). “However, when a party has acted in ‘flagrant’ disregard of a court

order, a court is authorized to exclude even ‘critical evidence.’” Gautier-James v. Hovensa, L.L.C.,

2011 WL 4500153, *5 (D.V.I. Sept. 27, 2011) (citing Konstantopoulos, 559 F.2d at 904).

Importantly, because there is no debate that Defendants’ expert reports were untimely, Defendants

“bear[] the burden of demonstrating a substantial justification for [their] failure to abide by the

Court’s scheduling order.” Id. (citing Torres v. City of Los Angeles, 548 F.3d 1197, 1213 (9th Cir.

2008) (“[T]he burden is on the party facing the sanction…to demonstrate the failure to comply

with Rule 26(a) is substantially justified or harmless.”)).

                                                    7
 Case: 3:21-cv-00036-RAM-RM             Document #: 185        Filed: 11/10/23     Page 8 of 12




       Here, Defendants’ expert witnesses should be excluded from trial because Defendants have

flagrantly disregarded the Court’s scheduling Orders, has failed to provide any good reason for the

prolonged tardiness of the reports, and Plaintiffs have been unfairly prejudiced by these untimely

reports. As a result of Plaintiffs’ compliance with the Court’s scheduling Orders, Defendants had

a full and fair opportunity to depose Plaintiffs’ experts (regardless of whether Defendants took

advantage of this opportunity). The same cannot be said for Plaintiffs. As a result of Defendants’

failure to produce expert reports until October 2, 2023—the day of the discovery deadline—

Plaintiffs were not able to depose Defendants’ expert witnesses, thereby placing Plaintiffs at a

tremendous disadvantage and depriving Plaintiffs of discovery they are entitled to.

       Defendants’ violation of the Court’s scheduling Orders was flagrant. Defendants were

fully aware of their deadline for months and had ample opportunity to comply with it. Defendants

did not request that Plaintiffs provide a courtesy extension, and instead filed a Motion for

Extension that only asserted more time was needed in order to conduct CMEs and provided no

explanation, justification, or excuse as to why CMEs were not requested earlier and likewise

provided no explanation as to why an extension was needed for Defendants’ liability reports. The

Court questioned Defendants’ counsel at the September 14, 2023 status conference as to whether

there was any excuse or justification Defendants could offer as to why reports had not been

produced, and after Defendants’ counsel offered nothing resembling a justifiable explanation, the

Court denied Defendants’ Motion for Extension. See ECF 149. Even after that conference,

Defendants did not produce expert reports for over two weeks.

       When Defendants finally produced expert reports on the day of the discovery deadline, two

of the reports failed to comply with the explicit requirements of Rule 26(a) in that Dr. Haque’s and

Mr. Stringer’s reports are unsigned, and Dr. Haque’s report has a large red “PRELIMINARY”



                                                 8
    Case: 3:21-cv-00036-RAM-RM                 Document #: 185            Filed: 11/10/23         Page 9 of 12




watermark across it. Ex. E; Ex. F. Defendants also have still not produced any report by Dr.

Bonnie Levin despite identifying this expert in their disclosures.

         Consideration of the factors established by the Third Circuit supports exclusion of

Defendants’ experts as a result of Defendants’ flagrant disregard for this Court’s scheduling

Orders. The first factor—prejudice or surprise of Plaintiffs—clearly supports exclusion. Due to

Defendants’ flagrant tardiness and production of reports on the day of the discovery deadline (and

nearly a month after the Court’s deadline for Defendants to produce), Plaintiffs were not able to

depose Defendants’ experts or engage in sufficient expert discovery. The fact that Defendants

were able to depose Plaintiffs experts and did so, while Plaintiffs were not given that opportunity,

compounds the prejudice.

         The second factor and third factors—the ability of Defendants to cure the prejudice and the

extent to which allowing the evidence would disrupt the orderly and efficient trial of the case—

also weigh in favor of exclusion. Trial is scheduled for March, 2024 and Plaintiffs have no

intention of delaying Plaintiffs’ day in court. Given that discovery was extended multiple times

due to Defendants’ repeated failures to produce a critical fact witness for deposition, 1 this Court

should decline to reopen discovery to allow Defendants to rectify their mistakes by producing their

experts with trial only a few months away. Indeed, this Court has declined to do so in similar

circumstances in the past. See Gautier-James, 2011 WL 4500153 at *9 (“While the prejudice to

Defendant could theoretically be mitigated by reopening discovery and allowing Defendant to

depose these new witnesses and experts, the Court declines to do so…. At some point, discovery

must end so that the parties can determine the total universe of facts and evidence relevant to the


1
 Concurrent with this Motion in Limine, Plaintiffs are filing a detailed Motion for Sanctions concerning Defendants’
repeated and egregious violations of this Court’s discovery Orders. For the sake of brevity, Plaintiffs will not fully
rehash the procedural history of Defendants’ violations here, and instead incorporates the factual discussion from
Plaintiffs’ Motion for Sanctions the same as though fully set forth herein.

                                                          9
    Case: 3:21-cv-00036-RAM-RM                 Document #: 185             Filed: 11/10/23          Page 10 of 12




case in order to prepare for trial…. Accordingly, the Court will not reopen discovery and finds that

exclusion of these experts and fact witnesses is warranted under Rule 37(c)(1).”).

         Finally, the fourth factor—the bad faith or willfulness in failing to comply with a court

order or discovery obligation—also weighs in favor of exclusion. While Plaintiffs cannot point to

any concrete evidence of bad faith with regard to Defendants’ late expert report production, indicia

bad faith exists and there is no question that Defendants’ violation of the Court’s scheduling Orders

was willful. Indicia of bad faith exists because Defendants knew that their expert reports were

late, and Defendants’ counsel was extensively questioned by the Court concerning why Defendants

had not produced reports and the Court even instructed Defendants to get them produced quickly,

yet Defendants conveniently were able to produce all of their expert reports on October 2, 2023—

the day of the discovery deadline—at 8:47 p.m. (except for the expert report of Dr. Bonnie Levin,

which has still not been produced). See Exhibit G, Oct. 2, 2023 Email Correspondence. At an

absolute minimum, Defendants’ violation of the Court’s scheduling Orders was willful and

consistent with the pattern of disregarding the Court’s discovery orders and rulings Defendants

demonstrated throughout this case. 2

         Defendants “bear[] the burden of demonstrating a substantial justification for [their] failure

to abide by the Court’s scheduling order.” Gautier-James, 2011 WL 4500153 at *5 (citing Torres,

548 F.3d at 1213 (“[T]he burden is on the party facing the sanction…to demonstrate the failure to

comply with Rule 26(a) is substantially justified or harmless.”)). Defendants’ failures to comply

with Rule 26(a) and this Court’s scheduling Orders is neither substantially justified nor harmless.

Indeed, as a result of the Court’s questioning of Defendants’ counsel during the September 14,

2023 status conference as to why expert reports had not yet been produced, no justifiable excuse


2
 See Plaintiffs’ Motion for Sanctions filed concurrently herewith, the factual recitation of which Plaintiffs incorporate
herein.

                                                          10
Case: 3:21-cv-00036-RAM-RM             Document #: 185        Filed: 11/10/23     Page 11 of 12




or explanation was provided and the Court denied Defendants’ Motion for Extension. See ECF

149. Defendants have no justifiable excuse or explanation and the prejudice inflicted on Plaintiffs

is significant. Indeed, Defendants still have not produced the expert report of Dr. Bonnie Levin

and as to this expert’s report, all of the arguments made above apply with even greater weight.

                                     III.   CONCLUSION

       For all of the foregoing reasons, Plaintiffs respectfully request that this Honorable Court

enter an Order excluding Defendants’ experts from trial as a consequence of Defendants’ flagrant

and willful violations of Rule 26(a) and this Court’s scheduling Orders.



Respectfully submitted,

/s/ John P. Fischer                                  SALTZ MONGELUZZI BENDESKY P.C.
John P. Fischer, Esq., V.I. Bar No. 1232             /s/ Samuel B. Dordick
15B Norre Gade / P.O. Box 1197                       Jeffrey P. Goodman, Esq.*
Charlotte Amalie, VI 00804                           Samuel B. Dordick, Esq.*
Phone: (340) 715-5297                                Saltz Mongeluzzi & Bendesky P.C.
Fax: (888) 519-7138 / (305) 520-0323                 1650 Market Street, 52nd Floor
John@frtriallawyers.com;                             Philadelphia, PA 19103
usviservice@frtriallawyers.com                       Telephone: (215) 575-2970
                                                     Fax: (215) 496-0999
                                                     jgoodman@smbb.com
                                                     sdordick@smbb.com
Dated: November 10, 2023                             *admitted pro ha




                                                11
Case: 3:21-cv-00036-RAM-RM         Document #: 185      Filed: 11/10/23    Page 12 of 12




                             CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on November 10, 2023, I caused a true and correct copy of the
foregoing document to be served on the following person of counsel via CM/ECF:

         Jennifer Miller Brooks, Esq.                                       VIA E-MAIL
         Chivonne Thomas, Esq.
         HAMILTON, MILLER & BIRTHISEL, LLP
         150 Southeast Second Avenue, Suite 1200
         Miami, Florida 33131-2332
         jmiller@hamiltonmillerlaw.com
         cthomas@hamiltonmillerlaw.com
             Counsel for Defendants

         Carol G. Hurst
         PO Box 10829                                                       VIA E-MAIL
         5143 Palm Passage, Suite 18 B-1
         St. Thomas VI 00802
         Tel. 340-514-5541; Fax 888-672-6130
         cghurst@hurstvilaw.com
             Counsel for Signal



                                                            /s/ John P. Fischer




                                           12
